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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF MARYLAND


    PETER J. MESSITTE                                                                6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                      GREENBELT,MARYLAND 20770
                                                                                               301-344-0632




                                                  May 3, 2022


       TO:            Counsel of Record


       RE:            Snowden, et al v. Prince George's County, Maryland, et al
                      Civ. No. 18-160-PJM

                                                      ***




       The Court understands that the Februaiy 4, 2022 settlement conference was unsuccessfid, but the
       parties still seem amenable to participating in further settlement discussions.

       Judge Messitte has asked me to advise you that he is working on an opinion on the pending motions
       which he anticipates filing in the next 60 days, unless the case settles before then.

       If counsel wish to return to settlement conference before a magistrate judge, please advise
       chambers without delay.




                                                             Sincerely,


                                                                          /s/
                                                             Alexandra T. Highsmith
                                                             Law Clerk to Judge Messitte


        CC:     Court file
              ' Counsel of Record
